 CaseCase:
      2:19-mj-30227-DUTY
           4:19-mj-08888-N/A-EJM
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                        U.S. District Court
              DISTRICT OF ARIZONA (Tucson Division)
 CRIMINAL DOCKET FOR CASE #: 4:19−mj−08888−N/A−EJM All Defendants

Case title: USA v. White                                     Date Filed: 05/09/2019
Other court case number: 2:19−mj−30227−1 Eastern District of Date Terminated: 05/10/2019
                         Michigan (Detroit)

Assigned to: Magistrate
Unassigned
Referred to: Magistrate Judge Eric
J Markovich

Defendant (1)
Jarratt White                        represented by Kristian Harrison Salter
99767−408                                           Law Office of Rubin Salter Jr.
TERMINATED: 05/10/2019                              177 N Church Ave., Ste. 903
                                                    Tucson, AZ 85701−1120
                                                    520−623−5706
                                                    Fax: 520−623−1716
                                                    Email: kristian.salter@gmail.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: CJA Appointment

Pending Counts                                      Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                   Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                          Disposition
18:1343 Wire Fraud


Plaintiff
USA                                           represented by Gordon Elliott Davenport , III
                                                             US Attorneys Office − Tucson, AZ
                                                             405 W Congress St., Ste. 4800
                                                             Tucson, AZ 85701−4050
                                                             520−620−7300
                                                             Fax: 520−620−7320
                                                             Email: gordon.davenport.iii@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant US Attorney
CaseCase:
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Date Filed   #   Docket Text
05/09/2019   1 Arrest (Rule 40) of Jarratt White. (Attachments: # 1 Complaint)(BAC) (Entered:
               05/10/2019)
05/09/2019   2 MINUTE ENTRY for proceedings held before Magistrate Judge D Thomas Ferraro:

                 Initial Appearance in Rule 5(c)(3) Proceedings/Detention/Rule 5(c)(3) Identity
                 Hearing as to Jarratt White held on 5/9/2019. Defendant is present and in custody.
                 AUSA, Gordon Elliott Davenport, III; CJA, Kristian Harrison Salter for defendant.
                 Defendants state true name to be the same. Defendant signed Order Setting Conditions
                 of Release and released on Judge's signature. Defendant to appear in the charging
                 district on 5/16/19 at 10:00 AM at Pretrial Services. This case is not sealed per US
                 Attorney's Office. (Recorded by COURTSMART.) Hearing held 2:26 PM to 3:31
                 PM.(BAC) (Entered: 05/10/2019)
05/09/2019   3 WAIVER of Rule 5(c)(3) Hearing by Jarratt White. (BAC) (Entered: 05/10/2019)
05/09/2019   4 ORDER Setting Conditions of Release as to Jarratt White. Signed by Magistrate Judge
               D Thomas Ferraro on 5/9/19.(BAC) (Entered: 05/10/2019)
05/10/2019   5 SEALED CJA 23 Financial Affidavit by Jarratt White. (MFR) (Entered: 05/10/2019)
05/10/2019   6 Notice to Eastern District of Michigan (Detroit) of a Rule 5 or Rule 32 Initial
               Appearance as to Jarratt White. Your case number is: 2:19−mj−30227−1. Please use
               PACER Court Links to access the public docket and documents.

                 (If you wish to designate a different email address for future transfers, please send
                 your request to the national list host at
                 InterdistrictTransfer_TXND@txnd.uscourts.gov.) (BAC) (Entered: 05/10/2019)
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                                  MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – TUCSON
U.S. Magistrate Judge: D Thomas Ferraro          Date: May 9, 2019
USA v. Jarratt White                             Case Number: 19-08888MJ-001

Assistant U.S. Attorney: Gordon Davenport (assigned)
Attorney for Defendant: Kristian Salter, CJA
Interpreter: N/A
Defendant: ☒ Present       ☒ Custody

INITIAL APPEARANCE
☐ Complaint Filed                                                  Date of Arrest: May 9, 2019
☒ Warrant Other District
☒ Financial Affidavit taken         ☐ NO Financial Affidavit taken
☒ Defendant states true name to be SAME.
   Further proceedings ORDERED in Defendant’s true name.

DETENTION HEARING                ☒     Held
PSA recommends release; Gov't  concurs  objects
 Court accepts recommendation by Government
 Defendant is advised on the record and signed Order Setting Conditions of Release and released on
Judge's signature.
   Defendant to appear in the charging district on 5/16/19 at 10:00 AM at Pretrial Services.

REMOVAL HEARING: ☒ Waived
☒ Defendant signs written Waiver of Removal Hearing. The Magistrate Judge finds, on the basis of
  Defendant’s written waiver of removal hearing and this Magistrate Judge's receipt of the
  original/certified copy of the warrant from the Eastern District of Michigan, that there is
  probable cause to believe that this defendant is the Jarratt White, named in the said warrant, and
  that there is probable cause to believe that an offense has been committed against the laws of the
  United States of America.
OTHER: Kristian Salter (CJA) is appointed as attorney of record for defendant.
          Thereafter, this case is not sealed per U. S Attorney’s Office.


Recorded By Courtsmart                                                          IA/DH/RH 0 min
Deputy Clerk Rose Chavez
                                                                                Start: 2:26 PM
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